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Dear Committee Members,

What you have before you is my best attempt at a fair and responsible solution to
the Erie County Re-Apportionment Issue. The controlling idea behind the drawing
of my map rests on prioritizing the 4 Key Principals of Redistricting in the following
order:

1. Meeting Population requirements
a. This is in accordance with:
i. The Federal & State “One Person - One Vote”
requirements.
b. The overall Reason for the redistricting of legislative
jurisdictions with the denial census is to preserve equal
representation within that legislative body.

i. Therefore, meeting the Mean Population requirement
- (83,549) was first priority.
ii, All of my proposed 11 districts are within 10% variance
in either direction from the Mean.
2. Communities of Interest and Demographic Representation
a. This is in accordance with:
i. Federal Voting Rights Act of 1965
b. Communities of interest are defined as groups of people living
in close proximity that share common interests, views, or
social problems. In an Erie context, it could refer to anything
from the Allentown Historic District of Buffalo to the Rural
Farming Communities of the Municipalities of Sardinia and
Holland in the South-East Region of the county. Any
demographic that shares common goals and issues is
considered a community of interest.

i. Minority Populations of Buffalo’s East (predominantly
African American) and Lower West (Hispanic) sides are

combined to increase the overall voting power of those
communities,
1. These are also two of the largest districts. The
reason for these districts being within 107-109%
of the allowed variance is because without
making them that large, there wouldn’t exist the
_ possibility of having two minority districts.
3. Compact and Contiguous
a. This is in accordance with:
_ i, Federal and State laws and statures
b. The Compact and contiguous issue is one that I believe is
mostly common sense. Communities adjacent to one another
generally share common geography, neighborhoods, and
demographics.

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i.

iL.

For this reason, | have grouped Grand Island with

Tonawanda as compared to another part of the county.

In addition, there is no municipality has been divided

into more than two districts, with the exception of the
City of Buffalo and Town of Amherst.

4, Preserving Municipal Boundaries

a. This is in accordance with:

i.

State stature emphasizing that municipalities not be
divided if it can be avoided.

b. Preserving Municipal boundaries is generally priority one in
outlying rural and suburban communities where towns and
villages are generally very similar.

c. That being said, Erie County contains a large metropolitan city
in the form of Buffalo. -

i,

il.

In the metro area, focus needs to be on neighborhoods
and greater communities rather than municipal
boundaries that often bisect these communities.
Because of this, the immediate peripheral suburbs
are subject to possible division based on

community /neighborhood boundaries. .
1. ie: Cheektowaga, Tonawanda, Lackawanna,
Amherst, ect.

I hope you will consider my final product when drawing the new
Legislative Boundaries. Also, I have all of my previous work (maps,
demographic break-downs, ect) on electronic file and would be happy
to share them with the committee if they desire more information.

Thank you.

Jacob M Jordan .
University at Buffalo
Department of Urban Studies
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1. Tonawanda District
Total Race Hispanic ar
population Latina {of any
race)
One race Twa ar Mare
: Races
Total White Black or American Asian Native Some Other
African. Indian and Hawaiian and |Race 2
American Alaska Native , Other Pacific :
islander : P
Census Tract 73.02 7,903 7,847 7 504 127 38 10 1 37 86 164
Census Tract 73.03 7,107 7,038 6504 238 45 216 2 33 69 124
Census Tract 73.04 5,364 6,400 5,064 76 16 133 o 14 64 75
Gensus Tract 76 2,965 2,939 2,884 15 19 ie 2 9 16 a7
Census Tract 77 4,742 4,665 4,540 51 15 33 4 26 46 111
Census Tract 78 5,206 5,135 5,015 52 27 33 G 3 71 122
Census Tract 79.01 2,941 2,507 2.700 58 4 131 0 i4 : a4 47
Census Tract 79.05 4.544 4510 4,279 107 44 410 0 3 31 6a
Cansus Tract 81.01 5,984 5,914 5,744 106 20 56 0 2t 79 128
Census Tract $1.02 4,487 4.447 4,284 102 3 30 a 3 40 -|75
Census Tract 82.01 2,580 2,554 2,465 31 16 25 o WT 26 71
Census Tract 82.02 3,788 23,740 3,583 86 11 41 o 19 48 99
Census Tract 83 2.584 2,460 2,078 282 25 18. o 57 124 247
Census Tract 84° 2,406 2.347 2,216 3g 26 & & 10 59 83
Gensus Tract 85 2,588 2,544 2,387 96 23 : 26 g 22 34 Ai
Census Tract 86 4,805 4711 4,486 128 21 54 1 24 4 133
Census Tract 87 4,675 4,591 4,366 131 22 34 a 38 84 184
Census Tract 88 3,355 3,287 3.092 106 26 39 a 24 68 410
Census Tract 172 2,257 2,234 2,180 20 10 13 9 17 23 40
Census Tract 79.02 6,018 5,977 5,754 4116 15 70 o 25 41 100 #REF! :
Census Tract $8.01 3,366 3.224 2,543 204 a4 Wz 4 182 142 632 2
83,622 83,609 2311 482 1322 di 597 1290 2712 wm
2. Greater Cheektowaga :
Total Race Hispanic or
population Latino (of any
race}
One race Two or More
Races
Total White Black or American Asian Native Some Other
African Indian and Hawaiian and |Race
American Alaska Native Other Pacific
Islander
Census Traci 100.01 2,883 2,843 2,749 73 4 33 a 14 40 58
Census Tract 100,02 4,252 4,200. 4,094 43 9 41 9 18 52 44
Census Tract 100.03 3,807 3,770 3456 163 9 a3 Q 19 a7 oF
Census Tract 101,01 4.649 4,580 4,269 254 9 22 a 26 69 444
Census Tract 404.02 3,497 3,350 2,630. 602 17 62 oO 33 147 125
Census Tract 107.03 3,863 3,822 3.626 428 6 48 3 11 41 53
Census Tract 106 2,597 2,567 2,382 110 6 54 Q 16 30 65
Census Tract 107 2,693 2,665 2,408 181 7 5? Q 15 at 68
Cansus Tract 108.03 2,047 2,038 4,876 40 2 16 6 4 g 34
Census Tract 108.04 4,031 4.047 3,863 Wi 5 60 1 7 34 40
Census Tract 108.05 5,334 5,284 5,181 43 413 37 2 22 50 59
Census Tract 108.07 5,170 5,114 4737 269 12 81 3 12 $6 a
Census Tract 108.08 4,052 3,993 3.470 241 iu 252 1 18 59 130
Census Tract 108.09 3.422 3,401 3,317 38 5 26 0 15 2t 23
Census Tract 109.01 2,377 2,386 2,295 A 6 7 0 15 11 42
Census Tract 109.02 4,387 4,323" 3,829 356 4 7 oO 22 5g 57
Census Tract 110 1,822 1,796 1,735 44 & 5 1 5 26 a8
Census Tract t1+ 2,136 2476 2.060 25 4 i3 o 14 20 30
Census Tract $7.04 3,147 3,112 3,005 $6 3 42 0 6 38 39
Census Tract $7.02 4,480 4,416 431+ 59 16 22 1 7 64 85
Census Tract 98 1,742 L734 4,703 21 o 3 Qa 7 8 23
Census Tract 99 3,661 3,604 3,568 51 is 17 1 12 57 76
Census Tract 104 2,283 2,495 1417 $42 49 a3 9 34 8 1i4
78,382 71,999 3610 188 1186 13 346 1640 1490
3. Buffalo East
Total Race Hispanic or
population Latino (of any
race) ‘
One race Twa or More
: Races
Total White Black or American Asian Native Some Cther
Affican indian and Hawaiian and |Race
American Alaska Native Other Pacific
. Islander
Census Tract 27.02 2,425 2,350 429 1273 11 625 Q 12 75 42
Census Tract 28 2,346 2.229 S44 1.475 13 62 1 34 il? 93
Census Tract 2¢ 1997 1,857 204 1,696 40 16 o 31 40 72
Census Tract 30 2,654 2577 550 - 41,870 7 74 oO 66 Ti. 178
Census Tract 62.01 1049 1,496 834 627 8 “}55 4 70 54 199
Census Tract 34 2,787 2,751 75 2,591 9 10 a 46 56 58
Census Tract 35 3341 3.243 401 3,117 5 o 6 20 68 94
Census Tract 25 2,608 2,550 166 2,330 i 45 o g 58 104
Census Tract 37 458 4,362 492 3,812 40 24 Q 24 106 124
Cansus Tract 38 3.1048 3,043 439 2,500 3 7 o 44 65 405
Census Fract 39.01 1,150 4,105 67 4,019 3 2 3 5 45 18
Census Tract 40.01 4013 3,852 378 3,352 42 a 0 26 164 i29
Census Tract 52.01 3,027 2,961 2,219 627 12 68 2 33 66 131
Census Tract 52.02 2,917 2.446 4,270 1,517 5 27 1 26 7 99
Census Tract 41 4,497 4,396 290 4,034 48 29 1 24 101 115 -

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Census Tract 42 3,520 3,452 134 3,230 i5 31 q 22 68 a?
Census Tract 43 5,975 5,800 927 4,705 12 95 1 65 175 201
Census Tract 44.01 4,185 4,066 2ag 3,695 7 33 1 31 99 92
Census Tract 44.02 2,682 2,637 58 2,524 9 t a 45 46 122
Census Tract 53 1,458 1,432 1,037 236 a a7 2 1 28 44
Census Tract 102.01 2,801 2,726 2,004 663. 9 22 1 2? 7 83
Census Tract 102.02 3.375 3,258 1,455 1,687 13. 78 Q 87 117 7185
Census Tract 103 1336 4,297 637 635 3 : 18 o 6 39 56
Census Tract 169 3.634 3,544 2,315 1,089 30 51 0 56 93 233
Census Tract 105 2,332 2,247 1674 504 i0 -[36 o 23 85 86
Census Tract 63.02 2,589 2.536 2,350 104 20 438 G 14 53 409
Census Tract 54 3,850 3,741 3,108 439 18 14 a 62 109 198
Census Tract 55 4064 3,822 2.515 1 247 232 637
84,598 26716 41956 21 1105 2376 3691
4, Buffalo West
Total Race Hispanic or
papulation . Latina (of any
Tace}
One race Two of More
Races
Fatal White Black or American Asian Native Some Other
Aftican Indian and Hawaiian and |Race
American Alaska Native Other Pacific
Isiander
Census Tract 31 2,294 2,258 412 2,107 3 19 4 14 35 58
Census Tract 56 4,182 3.987, 2,274 1,125 36 Tt Q 444 495 975 .
Census Tract 57 2,923 2,769 1,892 504 68 48 1 256 184 Tot
Census Tract 58.02 4,831 4,825 3,095 60t 13g 260 Q 541 266 1,132 :
Census Tract 69 3,957 3,754 2,483 835 49 273 o 314 203 801 i
Census Tract 61 4,986 4,760 2,154 1,343 St £68 5 $99 226 41512 i
Census Tract 17+ 4,577 4,346 2,072 1,260 oa 350 13 553 231 4202 7
Census Tract 69.04 3,773 3,592 14g? 951 a4 612 i 607 181 1497 i
Census Tract 69.02 3,948 3,750 2,135 Tt 75 410 5 Ata 198 97a :
Census Tract 70 3,133 3,007 1,433 S?t 32 257 i 603 126 1,276
Census Tract 71.04 3,842 3.484 1,361 ov SF V4 2 953 158 2.170
Census Tract 71.02 2,681 258+ 4,063 $60 35 -|42 3 508 4100 4,034
Census Tract 164 3,035 2,934 1,238 1,443 28 33 ‘a +95 104 627 i
Census Tract 165 1,798 1,745 1,000 878 g 28 3 a7 53 212 :
Census Tract 26.02 2,187 2,135 204 4847 a 17 oO 59 . 152 119
Census Tract 14.02 3,253 3,208 138 3,016 6 1 1 46 45 136
Census Tract 168 3.718 3,656 280 3,362 it 13 4 49 62 165
Census Tract 65.07 2,883 2,784 2,086 347 48 182 0 121 $9 337
Census Tract 65.07 2,441 2,354 1,545 384 At 203 1 180 37 477
Census Tract 65.02 2,262 2,235 L774 380 8 40 Q 26 37 91
Census Tract $7.04 3,354 3.247 2.273 534 23 188. 4 175 107 383
Census Tract 67.02 3,224 3.7 2,143 740 26 143 1 Ba 407 214
Census Tract 68 3,380 3,273 2,557 AgS 37, 62 O 129 107 364
Gensus Tract 168 3,718 3,856 280 3,302 1t 13 1 49 62 165
Census Tract 15 1,485 1,443 Tt 1,304 1 i 0 16 42 63
Census Tract 33.02 3,119 3,076 170 2,845 5 12 0 40 43 79
Census Tract 166 2,451 2,422 143 2,271 9 8 9 16 29 G9
Census Tract 33.01 3,585 3.490 229 3,236 10 3 o 21 76 36
90,850 37689 37,936 987 3991 5? 7019 3171 i6S67
5. Buffalo South
Total Race Hispanic or
population Latino {of any
. race)
One race Twa or More
Races
Tatal White Black or American Asian Native Some Giher
African indian and Hawaiian and | Race
American Alaska Native Other Pacific :
Islander
Census Tract 1.10 2,761 2,656 2,314 156 24 13 1 148 105 447
Census Tract 2 4,076 3,957 3,485 215 39 49 1 168 448 S77
Census Tract $ 4,964 1,808 1875 92 12 3 a 426 83 312
Census Tract 6 4,752 4,661 4,392 145 37 345 a 52 . 91 217
Census Tract 7 3,766 3,728 3,611 45 g 27 9 36 38 1is
Census Tract 8 4,704 4,500 4,220 98 27 33 1 121 404 349
Census Tract 9 2,373 2,329 2,197 69 a7 11 i 24 44 122
Census Tract 10 5,730 5,552 5.005 RT 46 39 0 125 178 455
Census Tract 11 3.154 3.072 2,857 138 30 16 1 30 82 211
Census Tract 17 arr 1,721 1,301 366 9 45 a 10 56 So
Census Fract 19 3,089 3,044 2,997 75 12 19 o 41 45 429
Census Tract 163 2,465 2,378 1,992 254 43 & i 80 $8 268
Census Tract 167 2460 2,404 2,221 132 44 15. a 25 56 92
Census Tract 174 3,783 3,565 2,025 1,322 13 27 Q 178 24a 493
Census Tract 123 3.382 3,252 2,896 219 15 42 5 75 130 290
Census Tract 124 2,160 2,104 1,996 83 10 42 a 23 56 116

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Census Tract 125.01 4,585 4,487 4311 94 8 29 2 B 98 202
Census Tract 125.02 1,879 1,853 1,813 25 i 7 9 7 26 56
Census Tract 72.02 1,639 1577 1,045 345 6 33 0 173 62 432
Census Tract 33 3,336 3.270 2,923 241 18 a7 Qo 52 66 205
Consus Tract 24 4,257 4,145 3,343 687 30 35 3 47 142 266
Census Tract 162 2,352 2,293 2474 57 10 4 9 38 39 126
Census Tract 174 3,783 3,565 2,025 1,322 13 2? o 178 218 493
Census Tract 128 2,553 2511 — 2.442 36 1 i o tt 42 96
Census Tract 130.01 Fg.07g [3,048 [2.991 [6 ti 14 [e 1s [33 [7e I
79,857 | 68,220 6559 471 581 16 1831 . e179 6221
6. University/Eggertsvitte District
‘Fatal Race
rpopulation
One race Two ar Mare
Races
Total White Black or American Asian Native Some Other Hispanic ar
, African Indian and Hawaiian and |Race Latino (of any
American Alaska Native Other Pacific race)
Istander
Census Tract 45 5 469 §,325 3,658 4436 37 $0 3 104 id44 253
Census Tract 46.04 3,514 3,399 2,030 514 6 807 o 42 115 140
Census Tract 45.62 1374 1,326 712 179 t 396 2 36 48 79 A
Census Tract 47 6.709 6,499 1,766 4314 21 314 5 79 210 301
Census Tract 48 . 3,819 3,747 3,275 347 24 50 4 47 72 198
Census Tract 51 4,416 4,252 3,113 g3t 41 55 4 408 164 364
Census Tract 79.03 3,377 3,351 3,238 43 19 a3 a 18 26 70
Census Tract 79.04 3,081 3,067 2.982 3 2 52 a 20 44 56
Cansus Tract 30.01 5,730 §.582 3,129 314 32 65 0 42 448 187
Census Tract 80.02 5,393, 3,303 5,022 186 Z 55 1 32 80 136:
Sensus Tract 80.03 5,234 5,442 4,733 222 24 119 o 44 92 167
Census Tract 91.09 3,149 3,4tt 2,594 118 & A432 0 19 ag 80
Census Tract $t.10 5,737 5,5a7 3,782 541 12 1174 4 107 150 300
Census Tract 9t.18 3.308 3.242 2,319 156 & 734 0 27 65 75
Census Tract 92 4,204 4,206 3,273 344 9 552 2 24 a0 115
Census Tract $3.01 5,293 5,080 3,139 1,110 17 775 i 36 213 194
Census Tract 93.02 2,637 2,580 2,217 216 7 432 9 8 a7 58
Census Tract 94.01 6,814 5,704 4,330 399 g 324 Oo 42 107, 146
Census Tract 95.01 5.444 5,000 4,509 380 4 87 a 29 102 124
Census Tract 49 5,983 o7od 4595 936 52 57 0 ii4 228 400
Census Tract 50 2,409 2,313 1,728 445 18 32 2 78 $6 195.
91,848 68,674 13,132 356 6335 25 1055 2271 3618
7. Clarence/Lancaster *
. Total Race : Hispanic or’
population Latino (of any
race)
One race Two or More
Races
Total White Black or American Asian Native Some Other
African Indian and Hawalian and |Race
American Alaska Native Other Pacific
Islander
Census Tract 147.01 5,596 5,554 5,448 43 4 49 2 9 42 65 i
Census Tract 147.02 $064 7,978 7,755 58 8 436 2 20 86 91
Census Tract 145.01 4.915 4,857 4,592 71 7 183 2 2 58 63
Census Tract 146.03 4,487 4,420 4,061 &t 3 276 a ig 67 84
Census Tract 146.04 7B1t 7524 6,929 +17 9 451 a 18 a7 498
Census Tract 142.04 3,944 3,920 3,860 i4 15 25 9 5 24 62
Gensus Tract 142.06 7,002 6,243 6,830 40 3 50 oO 20 59 87
Census Tract 142.07 5,338 5,287 §,088 102 7 63 G 27 51 68
Census Tract 142.08 4,824 4.789 4,673 73 W - 27 o 5 35 60
Census Tract 142.09 4,210 4,484 4087, 59 7 23 0 g 26 52
Census Tract 143 6.141 6,068 5,995 at 5 9 c iF 73 90
Census Tract 144 4211 4,166 4,0a7 30 22 16 Q W 45 60 i
Census Tract 145.04 3,555 3,518 3,470 21 3 47 0 7 37 43
Census Tract 445.02 2,379 2,341 2274 27 12 17 0 tt 38 66
Census Tract 144.04 6,179 6,158 8,142 9 8 18 4 16 2t 47
Census Tract 90,04 13468 [3.420 [2.426 [3 [ia [176 Jo [15 ]48 [s8 }
81,924 78,388 859 134 1532 a 204 797 1121
8. Eastern Border District
Total Race Hispanic or
population Latino (of any
race)
One race Two or More
Races

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Total White Black or American Asian Native Some Other
African Indian and Hawaiian and [Race
American Alaska Native Other Pacific
{slander
Census Tract 146.01 2,566 2,630 2468 id 40 6 O 6 36 38
Census Tract 148.03 6,028 5,989 5,872 32 46 28 3 8 39 47
Census Tract 9401 4 a4 9 . |o 34 0 o 9 0 9
Census Tract 149.01 2605 2,590 2,536 44 8 31 o 1 45 12
Census Tract 145.63 5,873 §,834 5,807 12 at 9 Q g 39 41
Census Tract 149.04 2,387 2,376 1,086 1,138 21 5 G 116 i 232
Census Tract 150.01 5,327 $299 5,252 13 it ag a 4 28 33
Census Tract 150.02 3,008 2,972 2,924 16 15 ii 1 5 33 32
Census Tract 150.03 3,404 3,370 3,329 16 14 8 oq 3 34 38
Census Tract 151,07 3.265 3,249 3,220 3 & 14 2 2 16 7
Census Tract 151,02 2,775 2,756 2716 6 a 18 0 a 19 17
Census Tract 138 7,318 7,762 7,587 16 3 56 oO 20 56 B1
Census Tract 139 2,225 2,198 2.174 14 4 6 0 3 27 16
Census Tract 140 3,739 3.708 3,659 +4 6 21 Zz g vu 46
Census Tract 152.04 3,082 3,080 3,044 3 o 7 o 6 22 34
Census Tract 152.02 4,941 4911 4,850 7 19 18 2 15 30 47
Census Tract 158 4,198 4,167 4,740 9 7 10 Q 1 3 §2
Census Tract 159 4,296 4,249 4,128 4g 35 26 4 3 4? gg
Census Tract 175.04 1.548 1,486 1,349 7 120 7 Qa 3 32 33 i
Census Tract 175.02 2,404 2,367 2,310 18 30 1 0 8 37 41
Census Tract 161 2,576 2,673 1,354 - 11,102 37 7 0 173 3 383
Census Tract 167 3,523 3,469 3.398 1 46 o : o 14 54 $2
77,686 73,287 2504 518 308 il 421 $37 1418
9.Greater Amherst
Tatat Race Hispanic or :
population : Latino (of any fe
race} i
One race Two or More r
Races
Total White Black or American Asian Native Some Other
African Indian and Hawaifan and |Race
American Alaska Native Other Pacific
Islander
Census Tract 90.06 7.299 7,194 6,237 321 9 597 4 23 108 132
Census Tract 90.07 7,641 7 Ags 6,528 151 W 779 § 19 148 132
Census Tract 90,08 4,875 4.918 4,238 148 7 465 1 9 6t 72
Census Tract 90.09 4,888 4,311 4.313 147 15 313 9 23 a o4
Census Tract $0.10 5,689 §,588 4,823 214 2 532 6 17 104 oF
Census Tract $1.04 4,149 4,098 3774 124 6 183 0 12 51 73
Census Tract 94.06 3,016 2,957 2,658 485 5 90 o 19 59 61
Census Tract $1.07 §,260 5,046 3.702 926 18 345 2 33 214 254
Census Tract 91.12 2,922 2,840 2,549 70 4 195 9 22 82 58
Census Tract 91.13 6,858 6,786 6,144 166 12 4d7 0 7 72 120
Census Fract 91.14 4,166 4,116 3,825 183 6 309 Qa 13 30 69
Census Tract 91.15 5,225 5,152 4,425 30 12 341 1 33 73 100
Census Tract 94.02 4,324 4303 4.097 1 6 74 1 14 24 82
Census Tract 95.02 6,884 6,589 8,185 264 10 127 o 23 95 140
Census Tract 89 4.243 4,168 4,016 72 6 49 o 25 45 72
Census Tract 96 6,245 6,161 5,385 280 19 443 8 35 84 154
83,558 72,729 3682 138 5289 22 357 1341 1710
10, West Seneca/ Orchard Park
Total Race . Hispanic or
population , Latina (of any
face)
One race Two or More
Races
Total White Black or Amarican Asian Native Some Other
African Indian and Hawaiian and [Race
American Alaska Native Other Pacific
Islander :
Census Tract 142 6770 6.735 6,627 55 12 25 4 15 35 64
Census Tract 113 4,770 4,713 4,563 76 5 54 Q 18 a7 $4
Census Tract 114 2,248 2,208 2,104 52 20 2 1 29 40 a?
Census Tract 115 4,503 4,484 1,453 § 10 9 Q 4 ig 23 +
Gensus Tract 116 4,852 1,936 1,876 16 4 32 o $ 16 35
Census Tract 117 4,142 4.077 4,005 ui 14 21 G 26 35 36
Census Tract 118 3.754 3,740 3,653 40 ii 3 2 3 14 32
Census Tract 120.01 4118 4,084 4,025 2g Z dd a 9 34 89
Census Tract 120.02 3,479 3,462 3,429 10 2 is 9 & 7 39
Census Tract 120.03 4,846 4,843 4758 20 2 35 a 4 25 63
Census Tract 173 7,161 7,167 6,979 66 9 45 oO & 54 139
Census Tract 438.01 7164 7,116 6,939 43 16 92 0 26 438 107
Census Tract 135.02 6559 6,784 6.621 25 7 412 1 is 7s 109
Census Tract 136 3,077 3,047 2,963 29 12 36 Vv 6 30 50
Census Tract 137.01 6,284 6,258 6,142 46 14 44 3 ga 25 402
Census Tract 137.02 5,670 5614 6,430 68 14 8 1 13 36 a7
Census Tract 141.02 5,438 5,118 5,080 10 8 17 i 5 20 25
78,903 76,547 604 164 669 1 207 601 1241
11. Hamburg/Eden
Total Race Hispanics or
population Latine (of any
race)
One race Two or More
Races

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Total White Black or American Asian Native Some Other
African Indian and Hawaiian and |Race
American Alaska Native : Other Pacific
: Islander
Census Tract 9400 1,836 1,772 150 2 1,612 7 q 1 64 83
Census Tract $29.02 3,556 3,522 3,433 32 7 26 Q 14 34 S4
Census Tract 130.02 5,286 $,330 5,212 52 8 33 1 22 56 433
Census Tract 134.01 6,498 6423 6261 $6 34 35 1 36 75 154
Census Tract 134.02 8,334 3,286 $154 24 33 39 4 36 48 150
Census Tract 132.01 5,840 5,876 §,748 33 18 57 0 19 64 94 i
Census Tract 132.02 §,923 4,982 4,922 27 UW 22 oO 10 31 74
Census Tract 133 3,538 3,505 3473 10 4 12 Q 8 33 49
Cansus Tract 134 6,270 6.234 6.748. 28 12 32 Q 44 36 8
Census Tract 153.04 4,924 4,898 4,834 23 43 13 2 13 26 $8
Census Tract 153.02 2,764 2,747 2,700 g to 6 Q 22 7 78
Census Tract 154.01 2,667 2,539 2,567 24 23 42 1 Z 28 54
Census Tract 154.02 5,069 5,024 4,948 22 38 6 3 7 45 83
Census Tract 165.01 2127 2,089 2,020 12 45 2 oO 10 38 62
Census Tract 155.03 2,626 2,506 2,501 3a 43 11 oO 2 32 45
Census Tract 153.04 3,865 3,806 3,726 18 48 3 t 10 59 54
Census Tract 156 2,065 2,037 1915 20 $5 1 Q 6 28 57
Census Tract 128.01 6,759 6.685 6.458 109 20 . 52 3 43 74 213
79,249 75270 540 2,690 374 13 277 788 1606
District w/ highest populatic University/Eggertsville % Dev: 5.90%
District w/ lowest Populatior Eastern Border % Dev: 7.10%
Municipalities Divided: Town of Tonawanda
Amherst
City of Buffale
Cheektowaga

Town of Hamburg :
Town of Elma b

